                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:02-00053
                                               )          JUDGE CAMPBELL
RANDALL PARKER                                 )

                                           ORDER

       Pending before the Court is the Defendant’s Motion For Reduction Of Sentence Pursuant

To 18 U.S.C. § 3582(c)(2) And U.S.S.G. § 1B1.10(a)(1) & (c) (Docket No. 821). The

Government shall file a response to the Motion on or before August 27, 2014.

       It is so ORDERED.



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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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